David Karl Gross, ABA #9611065
Birch Horton Bittner & Cherot
510 L Street, Suite 700
Anchorage, AK 99501
dgross@bhb.com

Edward E. McNally, ABA #9203003
Marc E. Kasowitz (Pro Hac Vice)
Hector Torres (Pro Hac Vice)
Kasowitz Benson Torres LLP
1633 Broadway
New York, NY 10019
emcnally@kasowitz.com
mkasowitz@kasowitz.com
htorres@kasowitz.com
Attorneys for Plaintiffs

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

KLOOSTERBOER INTERNATIONAL                 )
FORWARDING LLC and ALASKA                  )
REEFER MANAGEMENT LLC,                     )
                                           )
              Plaintiffs,                  )
                                           )      Case No.: 3:21-cv-00198 (SLG)
        vs.                                )
                                           )
U.S.A., U.S. DEPT. OF HOMELAND             )
SECURITY, U.S. CUSTOMS AND                 )
BORDER PROTECTION, and TROY A.             )
MILLER, et al.,                            )
                                           )
              Defendants.                  )



PLAINTIFFS’ NOTICE OF SERVICE OF DECLARATION AND PROPOSED
                           ORDER

        COME NOW Plaintiffs, Kloosterboer International Forwarding LLC and Alaska

 Reefer Management LLC, by and through undersigned counsel, and hereby give notice

 of the service of the attached declaration of M. Christy McManus, dated September 17,


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 2021 (the “McManus Declaration”), a revised Proposed Order Granting Plaintiffs’

 Motion for Preliminary Injunction (the “Proposed Order”), and a redline showing the

 changes against the version previously filed with the Court (ECF No. 4-2). The

 McManus Declaration is attached hereto as Exhibit A, the Proposed Order is attached

 hereto as Exhibit B, and the redline is attached hereto as Exhibit C.

        Plaintiffs offer the McManus Declaration in further support of their motion for a

 Temporary Restraining Order and Preliminary Injunction. The McManus Declaration

 sets forth Ms. McManus’ personal knowledge as to U.S. Customs and Border Protection

 officers being on site before, during, and after construction of the Bayside Canadian

 Railway, which was also reported in the Declaration of Darrell B. Weare (ECF No. 52).

        Plaintiffs submit the Proposed Order for the Court’s consideration, which has

 been revised for purposes of clarity in scope.

 DATED this 20th day of September, 2021.

                                          BIRCH HORTON BITTNER & CHEROT
                                          Attorneys for Plaintiffs

                                          By: /s/ David Karl Gross
                                              David Karl Gross, ABA #9611065

                                          KASOWITZ BENSON TORRES LLP
                                          Edward E. McNally, ABA #9203003
                                          Marc E. Kasowitz (Pro Hac Vice)
                                          Hector Torres (Pro Hac Vice)




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CERTIFICATE OF SERVICE
The undersigned hereby certifies that on the 20th day of
September, 2021 a true and correct copy of the
foregoing was served via the Court’s CM/ECF
electronic filing system, on the following:
Seth M. Beausang, Asst. U.S. Attorney
Christine Dollerhide, Asst. U.S. Attorney
U.S. Attorney’s Office
seth.beausang@usdoj.gov
christine.dollerhide@usdoj.gov
BIRCH HORTON BITTNER & CHEROT
By:     /s/ David Karl Gross




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